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September 22, 2023

Via ECF

Hon. Loretta A. Preska
United States District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 2220
New York, NY 10007

    Re: Petersen Energía Inversora, S.A.U. v. Argentine Republic, No. 15-cv-2739
        Eton Park Capital Management, L.P. v. Argentine Republic, No. 16-cv-8569

Dear Judge Preska:

       We write as Plaintiffs’ counsel, pursuant to Paragraph 2.A of Your Honor’s
Individual Practices, to respectfully request a pre-motion conference on Plaintiffs’
anticipated motion for an order that 30 days is “a reasonable period of time”
following the entry of this Court’s September 15, 2023 judgment (the “Judgment”)
to commence proceedings for attachment and execution on the Judgment, as of
October 16, 2023,1 pursuant to 28 U.S.C. § 1610(c).

      Under Section 1610(c), “[n]o attachment or execution referred to in
subsections (a) and (b) of [Section 1610] may be permitted until the court has
ordered such attachment and execution after having determined that a reasonable
period of time has elapsed following the entry of judgment.” Id. The statute
provides no additional guidance regarding the procedure or timing for the Court’s
determination of what constitutes “a reasonable period of time.”



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    30 days from September 15, 2023 falls on Sunday, October 15, 2023.
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       Plaintiffs’ proposed motion will demonstrate that, in consideration of the
facts presented here, under Section 1610(c), a 30-day period following entry of the
Judgment, which coincides with the length of the automatic stay provided in
Federal Rule of Civil Procedure 62(a), is “a reasonable period of time.”
Argentina’s past and current practice of avoiding judgments entered in both the
U.S. and in foreign jurisdictions, as well as recent public statements by its highest
officials, demonstrate that it has no intention of satisfying the Judgment. Plaintiffs
have had to wait for more than a decade for the tender offer payment they are
owed, and further delay to enforcement would be both unnecessary and
unreasonable.

       Section 1610(c)’s “reasonable period” of time post-judgment exists to allow
foreign states time to arrange for voluntary payment. However, courts have
granted Section 1610(c) orders where a sovereign debtor has taken no steps
towards payment of its debt or is attempting to evade payment. See e.g., Koch
Mins. Sarl v. Bolivarian Repub. of Venezuela, No. 17-CV-2559-ZMF, 2022 WL
521747, at *3 (D.D.C. Feb. 22, 2022). For example, in Elliott Associates, L.P. v.
Banco De La Nacion, the court found that the then 10-day automatic stay under
Federal Rule of Civil Procedure 62(a) was a “reasonable period” of time for
purposes of Section 1610(c). No. 96 Civ. 7916, 2000 WL 1449862 (S.D.N.Y.
Sept. 29, 2000).

        Argentina’s refusal to pay judgments is well documented and widely
recognized. See, e.g., NML Capital, Ltd. v. Repub. of Arg., 699 F.3d 246, 262 (2d
Cir. 2012) (“Argentina will simply refuse to pay any judgments.”); EM Ltd. v.
Repub. of Arg., 865 F. Supp. 2d 415, 417 (S.D.N.Y. 2012) (noting Argentina’s
“continued intransigence in failing to honor its lawful judgment debts”); see also
Joseph D’Agostino, Rescuing International Investment Arbitration: Introducing
Derivative Actions, Class Actions, and Compulsory Joinder, 98 VA. L. REV. 177,
205 (2012) (“Argentina faces the greatest number of claims of any nation in the
world and, so far, has refused to pay judgments against it.”). As this Court noted
in its Findings of Fact and Conclusions of Law, when Argentina intervened in
YPF, Mr. Axel Kicillof stated that that it would be “stupid” to comply with “the
law of YPF itself” or “respect[] its bylaws.” Dkt. No. 493 at 14 (quoting PX-15 at
25). Mr. Kicillof, now the governor of Buenos Aires, has doubled down on his
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prior statements, proclaiming that Argentina “does not have to pay” the Judgment
because it is “completely absurd.” Axel Kicillof Interview with Radio Splendid,
September 10, 2023, available at https://www.youtube.com/watch?
v=qJxTxMMWHZk&t=71s.2

      Simply put, Argentina has no intention of paying the Judgment, and it would
be spurious for Argentina to suggest otherwise. Plaintiffs therefore respectfully
request a pre-motion conference on their proposed motion, pursuant to Section
1610(c), requesting an order that the 30-day stay provided by Rule 62(a) is a
“reasonable period” of time and enforcement may begin thereafter.

                                                Respectfully,

                                                /s/ Randy M. Mastro
                                                Randy M. Mastro

Cc:   All counsel of record via ECF




2
  Plaintiffs intend to provide a certified translation of this interview in support of
their anticipated motion.
